
659 S.E.2d 3 (2008)
O'MARA
v.
HEALTH SERVICES, et al.
No. 414PA07.
Supreme Court of North Carolina.
February 13, 2008.
Wade E. Byrd, Fayetteville, Sally A. Lawing, Greensboro, for O'Mara.
Tamura D. Coffey, Linda L. Helms, Winston-Salem, Amanda B. Palmieri, for Wake Forest Health Sciences, et al.
Burton Craige, Raleigh, for NCATL.
Maria P. Wood, Raleigh, for NCADA.
The following order has been entered on the motion filed on the 11th day of February 2008 by NCADA for leave to file Amicus Curiae Brief:
"Motion Allowed. Unless already submitted, the Amicus Brief shall be submitted to the court within the times allowed and in the manner provided by Appellate Rule 28(i). By order of the Court in conference this the 13th day of February 2008."
